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                    IN THE UNITED STATES DISTRICT COURT
                            DISTRICT OF COLORADO

  Civil Action No. ______________________

  SHAT ACRES HIGLAND CATTLE, LLC, a Vermont limited liability company,
  JANET STEWARD, an individual, and
  RAY SHATNEY, an individual

        Plaintiff(s),

  v.

  AMERICAN HIGHLAND CATTLE ASSOCIATION (AHCA), a South Dakota
  nonprofit corporation with its principal place of business in Brighton, Colorado,
  JACQUELYN CHOTKOWSKI, individually, and as a member of AHCA,
  LAURA MCDOWELL-MAY, individual, and as a member of AHCA,
  SPRING FLIGHT FARM, LLC, a New York limited liability company, and
  SEAWIND MEADOWS, LLC, a Massachusetts limited liability company

        Defendant(s).


                                      COMPLAINT


  COME NOW Plaintiffs, Shat Acres Highland Cattle, LLC, Janet Steward and Ray

  Shatney (collectively “Plaintiffs”), by and through their attorneys Baker Law Group

  LLC, to hereby submit the following Complaint against American Highland Cattle

  Association (“AHCA”), Jacquelyn Chotkowski, Laura McDowell-May, Seawind

  Meadows LLC, and Spring Flight Farm, LLC, and in support thereof state the

  following:

        1.     This matter was originally filed on or about April 22, 2020, in the United

  States District Court, District of Vermont. On or about January 13, 2021, Hon.


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  Magistrate Judge John M. Conroy dismissed the case for lack of personal jurisdiction

  over Defendant American Highland Cattle Association (“AHCA” or “the Association”)

        2.     Defendant AHCA’s principal place of business is Brighton, Colorado and

  its registered agent for service is located in Brighton, Colorado.

        3.     Plaintiffs’ claims against the AHCA include federal antitrust violations

  under the Sherman Act. The private right of action to pursue antitrust claims is

  provided by the Clayton Act, which provides for venue and service of process against

  a corporation in the judicial district where a corporation may be found or transacts

  business.

        4.     Thus, Plaintiffs have re-filed their action here in the United States

  District Court for the District of Colorado.

        5.     The AHCA’s governing documents are silent as to the choice of law

  governing disputes between the AHCA and its members. It is Plaintiffs’ position that

  as Vermont residents they are entitled to the protections afforded them under the

  laws of Vermont and the herein matter should be determined according to Vermont

  law despite being adjudicated in this Colorado federal District Court venue.

                                        PARTIES

        6.     Defendant AHCA is a South Dakota nonprofit corporation with its

  principal place of business in Brighton, Colorado.

        7.     The registered agent for AHCA has an address listed with the Colorado

  Secretary of State in Brighton, Colorado.


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        8.    The AHCA Rules and Regulations as last updated April 10, 2018,

  provide for litigation of disputes between the AHCA and AHCA members in Colorado.

        9.    AHCA has members in Vermont and transacts business in Vermont.

        10.   AHCA has members in Colorado and transacts business in Colorado.

        11.   Defendant Jacquelyn Chotkowski is a former President of the AHCA

  and a current member of the AHCA. On information and belief, she is a resident of

  the state of New York.

        12.   Defendant Jacquelyn Chotkowski owns and operates Defendant Spring

  Flight Farm, LLC, a New York limited liability company, which is a member of the

  AHCA, advertises and sells cattle and cattle products in Colorado and is located at

  321 Charles Storch Rd., Elmira, NY 14903.

        13.   Defendant Laura McDowell-May is a former President of the AHCA and

  a current member of the AHCA. On information and belief, she is a resident of the

  state of Massachusetts.

        14.   Defendant Laura McDowell-May owns and operates Defendant Seawind

  Meadows, LLC, a Massachusetts limited liability company, which is a member of the

  AHCA, advertises and sells cattle and cattle products in Colorado and is located at

  54 Bristol St. #B, Dennis, Massachusetts, 02638.

        15.   Plaintiff Janet Steward (“Ms. Steward” or “Janet”) is a resident of

  Plainfield, Vermont, is a member of the AHCA, and is a managing member of Shat

  Acres Highland Cattle, LLC (“Shat Acres” or “the farm”).


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        16.    Plaintiff Ray Shatney (“Mr. Shatney” or “Ray”) is a resident of Plainfield,

  Vermont, is a member of the AHCA, and is a managing member of Shat Acres.

        17.    Plaintiff Shat Acres is a Vermont limited liability company with its

  principal place of business in Plainfield, Vermont, is owned and operated by Ms.

  Steward and Mr. Shatney, is a member of the AHCA, advertises and sells cattle and

  cattle products, and conducts business in Colorado.

        18.    Ms. Steward and Mr. Shatney are and at all relevant times have been

  dues-paying members of the AHCA.

        19.    Shat Acres has been a dues-paying member of AHCA since 1967 and has

  been registered on AHCA’s cattle registry for over fifty years.

                               JURISDICTION AND VENUE

        20.    Jurisdiction and venue are proper in this Court pursuant to 28 U.S.C.

  § 1331 and 15 U.S.C. § 22, which provides:

        Any suit, action or proceeding under the antitrust laws against a
        corporation may be brought not only in the judicial district whereof it
        is an inhabitant, but also in any district wherein it may be found or
        transacts business; and all process in such cases may be served in the
        district of which it is an inhabitant, or wherever it may be found.

  Id. Jurisdiction and Venue are proper because Defendant AHCA’s principal place of

  business is in Brighton, Colorado, and 15 U.S.C. § 22 confers personal jurisdiction

  over the corporation served by authorizing service outside the state a corporation

  inhabits. Goldlawr, Inc. v. Heiman, 288 F.2d 579, 581 (2d Cir. 1961), rev’d on other

  grounds, 369 U.S. 463 (1962), and pursuant to the governing documents of the AHCA.


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        21.    Counsel for Plaintiffs have made numerous attempts and requests of

  Defendant AHCA to commence mediation in order to expeditiously and efficiently

  resolve the herein matter. These attempts were ignored or dismissed by AHCA.

  Consequently, Plaintiffs file the herein action.

                 BACKGROUND AND HISTORY OF SHAT ACRES

        22.    Shat Acres is a family-owned farm in Plainfield and Greensboro Bend,

  Vermont, which is in the business of breeding and selling Highland cattle.

        23.    Highland cattle are a breed of cattle which originated in Scotland and

  were imported to the United States in the early 20 th century.

        24.    Ms. Steward and Mr. Shatney are a married couple who currently, and

  at all times relevant to this Complaint, own and operate Shat Acres, an organization

  dedicated to the preservation of this unique breed of cattle. Shat Acres’ herd is a

  “closed herd” that preserves the lineage of this particular breed and is descended from

  the first Highland bull imported from Scotland. Indeed, Shat Acres is the oldest

  registered herd of Highland cattle in the United States.

        25.    In addition to selling beef, Plaintiffs breed cattle and exhibit them at

  fairs and AHCA point shows nationwide and sell cattle and cattle semen for breeding

  purposes throughout the United States, Canada and the world.

        26.    Mr. Shatney’s father devoted his life to the farm, and asked Ray to save

  the Highland fold in 2001 when he could no longer manage its operation and it had

  fallen into bankruptcy.


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          27.   During all relevant time periods to this matter, Plaintiffs Janet and Ray

  have been responsible for all aspects of operation and maintenance of Shat Acres’ 150

  cattle herd. They have no employees.

          28.   Prior to working full time on the farm, Janet was a full-time educator

  for thirty years, recognized as the Vermont Teacher of the Year in 2002 and an

  American Star of Teaching in 2004.

          29.   Prior to working full time on the farm, Ray operated a tree service

  business for twenty-three years.

          30.   Plaintiffs   have   also   volunteered   their   time   serving   in   local

  organizations, such as Ray’s 40 years of service on Greensboro Volunteer Fire

  Department and Janet’s service as Chair of the Town of Plainfield Select Board and

  on Vermont state regulatory bodies related to the field of education.

          31.   Shat Acres’ Cinnamon Raisin was the most highly decorated Highland

  cow in the United States, garnering over a dozen Grand Championships, several

  Supreme Champions of show and multiple Grand Champion Produce of Dam awards.

          32.   Shat Acres has won four National Western Grand Championships, two

  Reserve Grand Championships and two Roll of Excellence Female awards.

          33.   Shat Acres, and its associated business Greenfield Highland Beef, were

  named the 2016 Small Business Association Vermont Family-Owned Business of the

  Year.




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         34.    Shat Acres has been specifically recognized by all three members of

  Vermont’s United States Congressional delegation for their service to Vermont

  consumers and their contribution to the Vermont economy.

         35.    Shat Acres was recognized by Vermont’s Secretary of Agriculture as

  “putting Vermont on the map by raising the best Highlands in the United States.”

         36.    The Vermont Agency of Agriculture uses Shat Acres pastures to

  demonstrate how to positively effect intensive grazing.

         37.    Plaintiffs have regularly contributed items for AHCA auctions for the

  Association, its Junior Members, and the Highland Cattle Association. Items

  contributed to these auctions have raised thousands of dollars for Defendant AHCA.

  Plaintiffs have received multiple commendations and appreciation letters from

  Defendant AHCA’s employees, Board of Directors, Regional Associations, and AHCA

  members for their service to the organization. The AHCA has acknowledged that “the

  Shat Acres name has long been a symbol of quality recognized all over the Northeast.

  We appreciate the many years you have produced cattle that have such a positive

  impact on the breed.” Shat Acres has registered over 470 head of Highland cattle with

  AHCA, which is more cattle than almost any other AHCA breeder. Shat Acres has

  been a dues paying member of AHCA since 1967 and have been registered on AHCA’s

  cattle registry for over fifty years.

         38.    Since 1967, Shat Acres Highland cattle have been shared with the public

  at over 500 venues, including Fairs, AHCA Point shows, hospitals, schools and


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  juvenile detention centers. Shat Acres Highland cattle have been presented to several

  hundred thousand spectators at shows and fairs.

        39.    Shat Acres’ Highland cattle have been sold all over the United States

  and the world, including Australia.

        40.    Shat Acres regularly hosts visitors to their Highland farm from

  throughout the United States and the world, including recently a contingent of forty

  farmers from Belgium.

        41.    Shat Acres has been regularly chronicled by print and television news

  media for their awards and multiple Grand Championships at AHCA shows and their

  history and contributions to Vermont agriculture.

        42.    Shat Acres has more media postings on the AHCA website’s “Members

  in the Media” section than any other AHCA breeder.

        43.    Shat Acres regularly donates beef to the Vermont Food Bank, Senior

  Citizen Centers, Meals on Wheels, Glean, Town Meeting meals, Fire Department and

  Rescue Squad events, school fundraising dinners and auctions.

        44.    Shat Acres beef has also been delivered to the White House and been

  prepared and served by professional chefs at large public events for hundreds of

  attendees.

        45.    Plaintiffs’ Highland beef recipes have been published in multiple

  cookbooks were featured in a nationally televised cooking show, preparing and

  serving Highland beef.


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        46.    Plaintiffs are also very active locally and in the region. Shat Acres, for

  over fifty years, has provided a cow and calf to “McDonald’s Farm” for ten days, at

  the Champlain Valley Exposition, the largest County Fair in Vermont.

        47.    Plaintiffs also volunteer their time serving in local organizations, such

  as Plaintiff Shatney’s 40 years of service on Greensboro Volunteer Fire Department

  and Plaintiff Steward’s service as Chair of the Town of Plainfield Select Board and

  on Vermont regulatory bodies related to the field of education.

        48.    Carroll and Leona Shatney, Ray’s parents, have been inducted into the

  AHCA Highland Hall of Fame.

                           BACKGROUND OF THE AHCA

        49.    AHCA is a trade association founded in 1948, which regulates the

  breeding and showing of Highland cattle in the United States with the stated purpose

  of preserving the integrity of the breed and assisting members in creating and

  maintaining the value of their Highland cattle stock.

        50.    In return for paying membership dues and other fees to AHCA, the

  association covenants with its members to represent their interests with respect to

  maintaining the value of the Highland breed.

        51.    AHCA further covenants with its members to treat all members equally

  and without favoring the interests of certain members over others.




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         52.    All actions taken by AHCA with respect to membership, cattle registry,

   discipline, or other actions are taken by agreement by and between, as well as

   through, its members, officers and committee members.

         53.    Plaintiffs are long-standing members of AHCA and have served AHCA

   in numerous roles over the years, including as members of the Board of Directors and

   as members and Chairs of multiple committees. Plaintiffs have also been members of

   the AHCA Beef Marketing Panels, the National Western Stock Show Meeting Master

   of Ceremony, AHCA Convention speakers, Regional Contributors to the official

   AHCA quarterly publication (the “Bagpipe”) and have authored numerous articles

   published in the Bagpipe.

         54.     Defendant AHCA maintains and operates the principal national breed

   registry for Highland cattle. The breed registry is a list of Highland cattle in the

   United States certifying the pedigree and purebred/crossbred status of all cattle listed

   on the registry.

         55.     For cattle to be listed on the registry, the owners of the cattle must be

   current, dues-paying members of AHCA. A cattle owner cannot register an animal

   on the AHCA Highland registry if the owner is not a current member of AHCA.

         56.    An animal which is unregistered on the AHCA registry has significantly

   less breeding and resale value than a registered animal.

         57.    The AHCA organizes and sponsors livestock shows, referred to as “point

   shows,” where Highland cattle are shown to judges and compete for awards.


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         58.   Animals that win championship awards at AHCA point shows and place

   high on the Role of Excellence have significantly higher breeding and resale value

   than animals that do not earn such awards and placements.

                     SHAT ACRES SUCCES AT AHCA SHOWS

         59.   Although Shat Acres Highland Cattle had been exhibited and won prizes

   at local fairs since 1967, Shat Farms did not begin taking their animals to AHCA

   national shows until Ray began to do so in 2001.

         60.   Shat Acres began having immediate success.

         61.   The National Western Stock Show (“NWSS”) is the biggest Highland

   show in the United States with, at times, over two hundred Highlands entered

   annually and thirty to forty Highland breeders represented.

         62.   In 2004 Plaintiffs attended the NWSS in Denver, Colorado. In 2004

   Plaintiffs’ Shat Acres Cinnamon Swirl was named Grand Champion Female at the

   NWSS.

         63.   Between 2004-2017, Plaintiffs won over 60 individual category or show

   championship awards with 22 different animals.

         64.   Over that same time period, Plaintiffs also won numerous overall herd,

   breeder and exhibitor awards.

         65.   Defendants’ harassment and anticompetitive conduct including false

   and fabricated ethics complaints and their unfair and unwarranted investigation




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   proceedings described infra, forced Plaintiffs off the competitive field from 2015 to

   2017.

           66.   After their complete exoneration by the AHCA Board of Directors, in

   2017, Plaintiffs felt safe to show their animals and began showing their cattle at

   AHCA point shows once again, until the targeting, harassment and Kafkaesque

   investigative proceedings at the AHCA resumed in 2018 and once again forced

   Plaintiffs out.

           67.   In 2017, which was the last year Plaintiffs felt safe to show their

   Highland cattle due to Defendants’ 2018 conduct described infra, Plaintiffs attended

   five AHCA point shows.

           68.   Plaintiffs’ Shat Acres cattle won Grand Champion at every one of the

   five shows they attended in 2017, with eight different animals. Plaintiffs were also

   awarded the Premier Breeder, Premier Exhibitor and Supreme Champion of Show

   awards.

           69.   Shat Acres’ Cinnamon Raisin is the most highly decorated Highland cow

   ever in the United States, garnering over a dozen Grand Championships and several

   Supreme Championships.

           70.   Plaintiffs have won dozens of Grand Championships, including many at

   the NWSS.

           71.   Plaintiffs’ cattle have also won multiple Roll of Excellence awards.




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                PREPARATION OF HIGHLAND CATTLE FOR SHOW

         72.    Plaintiffs are proponents of showing Highland cattle in the traditional

   manner in which Highland cattle have been presented throughout the world for over

   two centuries.

         73.    Highland Cattle have been shown to the public at competitions

   throughout the world since at least the 1800’s. Judging has been based on published

   breed standards, which many countries’ associations have in place for Highland

   Cattle.

         74.    Breed standards focus on characteristics of the Highland breed such as

   frame size, strong feet and legs, level topline, and the unique traits of the breed: their

   long horns and long hair of “great profusion.”

         75.    Throughout most of the world, and, until recently, in the United States

   as well, Highland cattle are shown in their natural coat, with preparation for the

   show ring being very minimal--bathing the animals and perhaps removing a few

   errant belly hairs being the extent of the grooming process.

         76.    The American Highland Cattle Association has never developed its own

   breed standard, and for years relied on those previously published by the Highland

   Cattle Society of Scotland, where the breed originated, which were based upon

   showing the animals in their natural coat.




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          77.   Since AHCA breeders began participating at AHCA point shows, and

   until very recently, Highland cattle have been shown in their natural coats with

   minimal trimming of their long hair.

          78.   Heavy coats and copious hair cover has been an admired and desired

   trait by AHCA breeders for decades for which the animals were bred as a sign of

   healthy cattle and in recognition of Highland breed standards.

          79.   AHCA point shows were a place of comradery, where breeders assisted

   each other with their cattle and enjoyed spending time with breeders from near and

   far.

          80.   In 2008, an AHCA member hired a professional groomer well-known by

   judges throughout the United States for her expertise and skill in preparing

   commercial beef breeds for the show ring.

          81.   This groomer was engaged to alter the member’s animals to make them

   appear more like other commercial beef cattle, even removing the Highlands’ facial

   hair and eyelashes. This practice is known as “shaving”, “clipping” and/or “blocking.”

          82.   Due to the relative scarcity of Highland cattle in comparison to other

   cattle breeds in the United States, judges at shows in the United States who are

   unfamiliar with the unique traits of the Highland breed often placed Highland cattle

   who were clipped, blocked and shaved to look like more commercial breeds over those

   who exhibited excellence according to Highland breed standards.




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         83.    As a result of this misjudging by commercial cattle judges, said

   groomer’s employer became very successful in showing his cattle.

         84.    Some Highland breeders began emulating this manner of showing cattle

   by clipping and shaving their animals.

         85.    Most Highland breeders, including Plaintiffs, still felt it important to

   preserve the unique traits of the Highlands by not clipping and shaving their animals

   even though the shaved and clipped animals were generally being selecting as

   Champions. In addition, blocking is considered by many to be an inhumane practice

   due to the cattle’s difficulty regulating body temperature. Despite the trend in awards

   being given to blocked animals, Shat Acres refused to shave their animals and yet

   continued to be competitive in the show ring.

         86.    In 2009, then AHCA President Jacquelyn Chotkowski recognized the

   harm to the breed being caused by this trend of “blocking” Highlands entering the

   show ring, and to the AHCA by the discord it was causing among AHCA members.

         87.    The Winter 2009 Bagpipe contained a report of the AHCA Show

   Committee, representing its decision that every judge at an AHCA show will be sent

   information regarding the Highland breed informing them of the “unanimous

   agreement that blocking is to be discouraged as it drastically changes the unique

   appearance of the Highland breed.”

         88.    In 2009, Defendant AHCA developed its first Long Range Plan (“LRP”).

   In the “Show” section of the LRP, the first bullet-point states that “Cattle will be


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   shown in the natural (i.e. unclipped) coat condition (reinforces role as a production

   breed).”

         89.    The AHCA also developed and published a “Policy Statement

   Concerning the Fitting of Highland Breeding Cattle for the Show Ring” around the

   same time, in 2009. The policy states, in relevant part:

         “Attempting to alter the physical appearance of Highland cattle
         breeding show stock by excessive removal of hair is not an acceptable
         procedure at any ROE recognized Highland cattle show … excessive
         clipping or blocking will not be tolerated in the show ring except for
         market animals ….”

         90.    Defendant Chotkowski herself issued a directive in the Winter 2010

   Bagpipe in the President’s message, stating that AHCA members should “[r]ise up to

   the challenge and bring your cattle to Denver without having clipped them up…”

         91.    After AHCA’s swift response to his blocking and shaving his cattle, said

   groomer’s employer stopped showing Highland cattle at AHCA point shows.

         92.    For several years after publication of the LRP, the clear policy

   announcement of 2009 and Defendant Chotkowski’s 2010 President’s message, there

   was relative calm in the American Highland Cattle Association.

         93.    Almost all cattle were again being shown in their natural coats, with

   comradery among AHCA members.

         94.    Plaintiffs have always believed Highlands should be shown as they have

   for centuries, with their long horns and long hair.




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            95.    Plaintiffs have never clipped, shaved or blocked their Highland breeding

   stock.

        DEFENDANT JACQUELYN CHOTKOWSKI’S CONTROL OF AHCA

            96.    Defendant Jacquelyn Chotkowski has been a member of AHCA for over

   20 years and operates Spring Flight Farm, LLC in Elmira, New York.

            97.    Jacquelyn Chotkowski has been an active member of AHCA for many

   years. She has served on the Board of Directors and as President of the Association.

   She has also been, and continues to be, a long-term member of the AHCA Executive

   and Governance Committees.

            98.    For several years, she was the associate editor and has subsequently

   served as the editor and publisher of the Bagpipe, AHCA’s official newsletter and

   member magazine. As editor and publisher, Chotkowski exercised complete control

   over the contents of the Bagpipe.

            99.    It is widely believed among AHCA members that, despite who may be

   serving as an officer or Board member, Defendant Jacquelyn Chotkowski, and those

   allied with her, control the Association and all aspects of it.

            100.   AHCA members refer to Jacquelyn Chotkowski as AHCA’s “New York

   office” and commonly comment that Association actions must meet the approval of

   the “New York office” before being sanctioned by AHCA’s Board.

            101.   Despite her decades of membership in the Association and history of

   showing her cattle, Jacquelyn Chotkowski’s Spring Flight Farm, LLC has never won


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   a NWSS Grand Championship or achieved comparable success to Plaintiffs’ at AHCA

   point shows.

         102.     In or about 2016, a Highland breeder from New Hampshire hired the

   same above-mentioned groomer who had previously been hired to block and shave

   Highland cattle in 2008.

         103.     This groomer is known and recognized across the United States for her

   skills at fitting, enhancing and altering the appearance of a beef animal to make it

   more attractive to ring judges.

         104.     As in 2008-2009, the animals prepared by this groomer looked more like

   commercial beef cattle that judges were accustomed to seeing and began winning

   championships at AHCA shows.

         105.     In 2016, Defendant Chotkowski became part owner of a Highland bull

   owned by the New Hampshire farm that hired said groomer, and the groomer

   prepared that bull co-owned for the show ring.

         106.     Although having previously achieved only sporadic and marginal

   success, this New Hampshire farm began having consistent success after hiring the

   groomer and even won Grand Championships at the NWSS and at AHCA shows.

         107.     Notably, this breeder’s success in 2016 came during Plaintiffs’ forced

   absence from the show ring due to Defendants’ wrongful conduct.

         108.     Other Highland breeders took notice of these Highlands success and

   began emulating the show preparation techniques of this groomer.


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           109.   The same discord and controversy created over “blocking” in 2008-2009

   returned to AHCA.

           110.   At the 2016 KILE show in Harrisburg, Pennsylvania, where Defendant

   Chotkowski’s bull had been prepared for the show ring by up to six groomers on one

   animal, including the above-mentioned groomer, Defendant Chotkowski was involved

   in a loud, verbal disagreement with multiple other breeders who were concerned

   about the excessive hair removal on that animal. Plaintiffs observed but were not

   involved in the conflagration.

           111.   Defendant Chotkowski’s actions during that altercation were so

   offensive that she was reported in writing by several breeders to the AHCA Board of

   Directors and the Ethics Committee.

           112.   The complaints were ignored by the AHCA.

           113.   The AHCA justified its own inaction by claiming that it was not AHCA’s

   role to govern such conduct.

           114.   At that show, the above-mentioned groomer also assisted with the

   preparation of cattle owned by another AHCA member, Defendant Laura McDowell-

   May and her family farm.

           115.   At the 2017 NWSS, the bull co-owned by Defendant Chotkowski and

   prepared again by the above-mentioned groomer, garnered Reserve Grand Champion

   Bull.




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         116.   Following those successes, Defendant Chotkowski’s willingness to own

   and show an animal that is “blocked” was markedly different from her previous

   position against clipping and blocking expressed in her above-referenced 2010

   Presidential statement, and in the above-mentioned 2009 LRP and Policy Statement

   that were issued during her tenure as AHCA President.

         117.   Most breeders believe they cannot compete with blocked and altered

   cattle, and so many AHCA members have either dropped their membership or

   stopped showing cattle or begun showing cattle which are now clipped and shaved for

   the show ring.

         118.   Despite choosing not to alter the natural appearance of their cattle,

   Plaintiffs, however, continued to garner Championship awards after returning to the

   show ring in 2017.

          JACQUELYN CHOTKOWSKI’S HBMA & QHB PAY-TO-PLAY
         ORGANIZATIONS vs. PLAINTIFFS’ BMC FREE MEMBERSHIP
                            ORGANIZATION

         119.   In 2007, Plaintiffs realized that the Highland herd could not be

   sustainably supported without selling beef in addition to their champion breeding

   stock, so they began selling their Highland beef commercially, under the trade name

   Greenfield Highland Beef.

         120.   AHCA had been trying to produce marketing materials for Highland

   beef to be used by members for several decades. In 2009, the AHCA included in its

   written AHCA Long Range Plan a commitment to create “Highland beef promotional


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   programs sponsored by the Highland Beef Marketing Association (“HBMA”) with at

   least 20 sponsoring beef producers … an annual budget of more than $100,000.00.”

         121.   Jacquelyn Chotkowski, who was AHCA President at the time, founded

   and took control of the HBMA, adopting a “pay to play” approach and demanding

   thousands of dollars in fees to join.

         122.   No members of the AHCA ever joined the HBMA.

         123.   When it became clear than neither ACHA nor its members supported

   the HBMA, Jacquelyn Chotkowski became more actively involved in another

   organization, the Quality Highland Beef (“QHB”) program.

         124.   QHB was another AHCA “pay to play” marketing program that had

   begun in 1994.

         125.   Despite its longevity, the QHB program met with minimal success. In

   2005, despite its existence for over twenty years, QHB had only 68 members, less

   than 5% of AHCA’s membership.

         126.   Defendant Chotkowski became the Chair of the QHB Committee and

   initiated an intense promotional campaign to garner a broader share of AHCA’s

   membership involved in this “pay to play” program.

         127.    Dean Adams was sworn in as AHCA’s President in June 2010, replacing

   Defendant Chotkowski, whose term limit had expired.




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          128.   In Denver, Colorado in January 2011, President Adams detailed a new

   Committee structure focusing on education, breed promotion and protection and beef

   marketing, to revitalize AHCA and encourage membership participation.

          129.   In January 2011, Janet was appointed Chair of a newly formed AHCA

   Beef Marketing Committee (“BMC”) due to her successful efforts marketing Highland

   beef since 2007 under the trade name Greenfield Highland Beef and her commitment

   to helping other Highland cattle breeders achieve success at marketing the animals

   for beef as well.

          130.   The BMC under Janet’s direction developed and provided marketing

   materials at no charge to any AHCA member.

          131.   The BMC under Janet’s direction also arranged to provide all members

   the opportunity to list a “Steak Icon” next to their name on the AHCA membership

   list to let others know which breeders were selling Highland beef.

          132.   In its first year, over seventy AHCA members chose to participate in the

   BMC’s marketing initiatives. By 2015, eighty-nine AHCA members chose to

   participate in BMC marketing initiatives. By contrast, in 2015, membership in QHB,

   the twenty-year-old “pay to play” program Jacquelyn Chotkowski was promoting,

   declined to 47 members.

          133.   Under Janet’s leadership, the BMC achieved remarkable success and

   growth in developing resources and partnerships to aid AHCA members in marketing

   their Highland beef products.


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       DEFENDANTS’ MALFEASANCE AGAINST PLAINTIFFS IN 2015, AND
         ITS SUBSEQUENT EXPOSURE PUT THE AHCA ON NOTICE OF
      CHOTKOWSKI’S AND MCDOWELL-MAY’S TARGETING, DEFAMATION
          AND ANTI-COMPETITIVE CONDUCT AGAINST PLAINTIFFS

         134.   During her tenure as Chair of the BMC, Janet made regular progress

   reports to the AHCA Board, to AHCA members at its conventions, and in the Bagpipe.

         135.   At every Board meeting when Janet made a BMC report, Jacquelyn

   Chotkowski was disruptive, abusive, obstructive, threatening and defamatory.

         136.   Each time Plaintiff Steward reported to the AHCA membership

   regarding the BMC Committee, Chotkowski would leave the room or turn her chair

   so that her back faced the presentation podium.

         137.   Following a Board meeting in January 2015 in Denver, Colorado,

   Chotkowski waited for Plaintiff Steward in the hallway outside the meeting room and

   cornered her against a wall. Chotkowski stated that she would do everything in her

   power to prevent the BMC from creating beef marketing materials for AHCA

   members.

         138.   On March 19, 2015, during a Breed Protection & Promotion (BP&P)

   Committee teleconference, Chotkowski repeatedly interrupted Plaintiff Steward

   while she was giving her Beef Marketing Committee report.

         139.   During these interruptions, Chotkowski repeatedly, and falsely, told the

   subcommittee that Plaintiff Steward was lying. Chotkowski later admitted this

   conduct.



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           140.    While the nine members present for the teleconference were witnesses

   of Defendants’ verbal attacks, Plaintiff Steward reported the verbal attacks to no one

   else.

           141.    At the time of the teleconference and Chotkowski’s verbal assaults,

   Plaintiff Shatney was serving as a member of the AHCA Board of Directors and the

   Beef Marketing Committee.

           142.    On March 29, 2015, AHCA’s then President Deb Nelson telephoned

   Plaintiff Shatney and told him that the AHCA Executive Committee had met and

   instructed her to issue an official verbal reprimand to him for being a troublemaker.

           143.    Nelson also informed Plaintiff Shatney that he could no longer serve on

   any AHCA committees.

           144.    Nelson further informed Plaintiff Shatney that Plaintiff Steward was

   also being officially reprimanded under the direction of the Executive Committee for

   being a liar.

           145.    Ms. Nelson falsely, deliberately and wantonly misinformed Ray that due

   to the Executive Committee’s action, he could no longer serve on any AHCA

   committees. She falsely, deliberately and wantonly misinformed Janet that she was

   officially reprimanded for “being a liar”. There were no such reprimands and

   punishments issued by the AHCA Executive Committee, and Ms. Nelson knew this

   at the time she misinformed Plaintiffs. Nevertheless, Ms. Nelson willfully and




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   wantonly misinformed Plaintiffs about their being disciplined and punished by the

   AHCA organization.

         146.   That same day, Janet reached out to Executive Committee members to

   inquire as to the reasons for these alleged reprimands, and to request copies of the

   Executive Committee minutes. No response was provided.

         147.   Janet then wrote the Board of Directors, requesting an explanation for

   the purported disciplinary actions and punishment, and demanded the relevant

   Executive Committee minutes. No minutes or explanation were provided.

         148.   Plaintiffs later discovered that the Executive Committee had neither

   met nor directed Ms. Nelson to issue an official reprimand of Plaintiffs. But rather,

   that it was Jacquelyn Chotkowski, on her own authority and in contravention of

   AHCA Bylaws, Rules and Regulations governing the issuance of discipline and

   punishment, who had instructed President Deb Nelson to inform Plaintiffs that they

   were being officially reprimanded and punished.

         149.   At the next Board Meeting, on April 7, 2015, Janet once again raised her

   questions regarding the purported reprimand and punishment of herself and Ray.

   Jacquelyn Chotkowski and Vice-President Laura McDowell-May used the meeting to

   further threaten and defame Plaintiffs including threatening to bring unspecified

   criminal charges against Plaintiffs.

         150.   Janet objected and inquired as to why she was being threatened and

   defamed in this manner. Jacquelyn Chotkowski shouted that it was because she was


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   “a [expletive deleted] pain in my [expletive deleted]”.      President Nelson, in a

   Kafkaesque twist, claimed that Plaintiffs were being sanctioned for requesting

   minutes and making repeated inquiries regarding the above-discussed “reprimands”.

          151.   In response to the false accusations and threats of legal action being

   brought against them, Plaintiffs retained an attorney to represent their interests.

          152.   AHCA member John McLaughlin, an attorney who provided legal advice

   to the Board of Directors, informed Plaintiffs’ attorney that Plaintiffs’ actions were

   injurious to AHCA and demanded that Plaintiffs issue a written apology to the

   Association and that Plaintiff Steward “kiss and make up” with Chotkowski.

          153.   Despite the obvious conflict, an Executive Committee member then

   attempted to manipulate the composition of the Ethics Committee investigating the

   possible ethical violations of himself as member of the Executive Committee, as well

   as of Plaintiffs.

          154.   On May 1, 2015 Nick Self, Chair of the Ethics Committee, emailed the

   AHCA Board seeking approval for the Ethics Committee to consist of Nick Self, Dean

   Adams, Sharon Green and John McLaughlin.

          155.   As a result of the turmoil caused by Chotkowski, Nelson and McDowell-

   May, the Board of Directors authorized an Ethics Committee be convened to

   investigate the dispute between the Executive Committee, Jacquelyn Chotkowski,

   Ray and Janet to get to the bottom of this purported reprimand and punishment.




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         156.   On May 3, 2015, the Board approved the proposed Ethics Committee

   membership.

         157.   After some time had passed without Plaintiffs’ receiving an invitation to

   be interviewed by said Ethics Committee, Plaintiffs wrote to the Ethics Committee

   requesting to speak with them to assist with their investigation. They received no

   response.

         158.   Instead, in yet another blatant breach of Plaintiffs’ due process rights

   by the AHCA, the Ethics Committee issued its report to the Board on June 14, 2015,

   stating that it had gathered all relevant information, had met on 5/4/15 and 5/18/15

   and had completed over a dozen interviews, including of all the members being

   investigated without having conducted an interview of either Ray or Janet.

         159.   Plaintiffs contacted the Board to let them know that the Ethics

   Committee had not interviewed them yet. The Ethics Committee then set a date to

   interview Plaintiffs and provided Plaintiffs little more than two (2) days’ prior

   notice of the interview – a transparent ploy to prevent Plaintiffs from obtaining legal

   counsel to protect their rights.

         160.   Prior to their scheduled interviews, Plaintiffs requested they be

   provided the minutes of the relevant Committee meetings. They were told that, in

   contravention of AHCA governing documents, no such minutes exist.

         161.   Plaintiffs were subsequently interviewed by teleconference by the Ethics

   Committee comprised of Nick Self, Chair, Dean Adams and Sharon Green.


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         162.   Despite the impropriety of the process and the emotional distress and

   economic loss resulting therefrom, the Ethics Committee report completely

   exonerated Plaintiffs of any wrongdoing. The Board voted unanimously to accept the

   conclusion and findings of the Ethics Committee. Jacquelyn Chotkowski, on the other

   hand, was cited for inappropriate conduct and ordered to issue a written apology

   within 30 days.

         163.   On the thirtieth day after the Board’s directive, Plaintiffs received an

   email from Chotkowski with no greeting or signature, in which Chotkowski stated

   that her conduct was necessary to “interrupt the beef marketing report because of

   inaccuracies.” No apology, no contrition nor any remorse were expressed. Instead,

   Chotkowski’s email reproduced her false calumny.

         164.   Janet’s BMC March 19, 2015 report contained no inaccuracies

   whatsoever. Indeed, no inaccuracies in Janet’s BMC reports have ever been suggested

   by any investigation and the specific report in question was approved unanimously

   by all members present, including Chotkowski, without amendment.

         165.   Janet notified the Board of Chotkowski’s failure to comply with their

   directive to issue an apology. However, the Board took no action in response to

   Chotkowski’s failure to comply with the Board’s order. Plaintiff received no response

   to her notification to the Board. The Board did not require that Chotkowski provide

   any further comment or the apology the Board had previously ordered.




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          166.   The AHCA’s failure to take action to enforce its directive against

   Chotkowski and on behalf of Janet, emboldened Jacqulyn Chotkowski to continue her

   campaign of harassment, defamation and abuse of process. She continued targeting

   Plaintiffs and causing Plaintiffs to suffer severe emotional distress, humiliation,

   ridicule, ostracizing and fear of criminal prosecution by the AHCA through its

   officers, in addition to the economic harms involved in having to hire an attorney to

   represent them in AHCA’s frivolous and capricious Ethics investigations, and the

   difficult financial and emotional decision to refrain from attending most AHCA point

   shows.

          167.   Despite the above-described Ethics Committee’s findings, Chotkowski

   and her allies continued to harass Plaintiffs and the Beef Marketing Committee while

   Janet served as Chair in an effort to cause its failure, the failure of Plaintiffs’ business

   and to keep Plaintiffs away from AHCA shows and force them out of the AHCA.

          168.   McDowell-May, while President of AHCA, and Chotkowski continued to

   demand that the Board refuse to fund requests from the Beef Marketing Committee,

   stating the work they were doing was a waste of time due to the existence of the QHB

   program.

          169.   President McDowell-May and Chotkowski also repeatedly, and falsely,

   told the Board that the work the BMC was doing was redundant, despite there never

   having been produced beef marketing materials available free of charge to all AHCA

   members previously.


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         170.   Upon information and belief, President McDowell-May and Chotkowski

   were heard in private conversations insulting and using derogatory language towards

   Board members for supporting the work of the BMC.

         171.   Despite these obstacles, in 2018, the BMC created and made available

   to all AHCA members professionally designed beef marketing materials.

         172.   All photographs of Highland cattle, cuts of beef and recipes on the new

   beef marketing materials were donated for AHCA’s use by Plaintiffs, as no other

   members offered to assist with these materials.

        AHCA’S FAILURE TO HOLD CHOTKOWSKI ACCOUNTABLE
   EMBOLDENED HER TO BE MORE AGGRESSIVE IN HER TARGETING OF
   PLAINTIFFS AND USE THE ASSOCIATION’S POWER TO COMMIT ANTI-
                        COMPETITIVE ACTS

         173.   Plaintiffs have been informed by former AHCA Board members and

   officers that had the Board held Chotkowski accountable in 2015, the defamation,

   harassment, and anti-competitive actions Plaintiffs suffered in 2018 at the hands of

   Chotkowski and her allies, would not have occurred.

         174.   In 2018, following Plaintiffs’ extremely successful year in 2017 showing

   their Highland cattle, the anticompetitive actions, attacks and harassment against

   Plaintiffs began anew.

         175.   On December 18, 2017, Josh Krenz emailed all members of the BMC

   that he had been appointed to Chair a newly convened AHCA Long Range Plan (LRP)

   Committee. The purpose of the Committee was to gather feedback on AHCA’s most

   current long-range plan, developed in 2009.

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         176.   On January 3, 2018, Krenz emailed a copy of the then-current LRP to

   all BMC members, including Plaintiffs, requesting feedback by January 15, 2018.

         177.   In response to questions by members of the Facebook Highland Cattle

   Breeders Group seeking information about where AHCA policies might be found,

   Plaintiff Steward posted AHCA documents and previous Bagpipe articles.

         178.   On May 23, 2018, Plaintiffs were informed by the AHCA that alleged

   “complaints regarding your conduct were referred to the Ethics Committee for

   consideration.”

         179.   AHCA’s Operations Manager, Ginnah Moses, wrote Plaintiffs stating

   that “three categories of complaints regarding your conduct were referred to the

   Ethics Committee for consideration.” One category referred to conduct in the show

   ring, one to conduct at a sale auction, and one in reference to the above-mentioned

   Facebook post, stating that Janet had “willingly and intentionally published outdated

   material with the intent to create discord and harm to the association.”

         180.   This later charge referred to the Facebook posting by Janet in January

   of 2018 that simply contained portions of: (1) AHCA’s current LRP that had been sent

   to her by LRP Committee Chair Krenz, (2) former President Jacquelyn Chotkowski’s

   2010 presidential message previously discussed supra, and (3) the AHCA’s most

   current policy regarding preparation of Highland breeding stock for presentation at

   AHCA point shows.




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         181.   The alleged complaint lodged against Janet’s post, it later became

   known to Plaintiffs, were the result of AHCA President Laura McDowell-May’s

   making false claims to members of the AHCA’s Governance Committee, including the

   chair of the Ethics Committee, stating that she had received several letters, phone

   calls and texts complaining about Plaintiff Steward’s post.

         182.   The Governance Committee decided that it was not the duty of the

   Governance Committee to investigate the alleged conduct of a member in social media

   settings.

         183.   The Governance Committee minutes also noted that no issues were

   pending with the Ethics Committee at that time.

         184.   At a subsequent Governance Committee meeting in March, 2018, the

   Committee was informed that, despite no vote being taken to authorize such an

   action, investigations into two ethics issues were being undertaken.

         185.   Despite attempted inquiry at that meeting, members of the Governance

   Committee who were not aware of the ethics investigations prior to the meeting were

   not provided any details.

         186.   In violation of AHCA Rules and Regulations, and in contrast to the

   precedent, the approval of the Board of Directors was not sought for such an

   investigation and, indeed, the Board was not informed that an investigation of

   Plaintiff Steward was being conducted.




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         187.   In addition to false reports of complaints regarding Plaintiff Steward’s

   Facebook posts, the Ethics Committee also received false reports that Plaintiff

   Steward was responsible for ethics violations by her conduct during a livestock show.

         188.   The Ethics Committee purported to dismiss these allegations on the

   dual bases that it should not regulate the personal conduct of AHCA members and

   that the issue was prior to AHCA adopting the International Association of Fairs and

   Exhibitions (“IAFE”) Code of Show Ring Ethics.

         189.   However, it became clear that the allegations were dismissed because

   they were demonstrably false and fraudulent when made.

         190.   Neither AHCA nor any other breed association “adopts” IAFE Rules and

   Regulations. AHCA point shows had been operating under IAFE Rules and

   Regulations for decades.

         191.   During point shows, animals are judged according to the standards

   applicable to the shows and the shows are conducted in accordance with the Rules set

   forth by the IAFE.

         192.   IAFE Rules have long been in place and have governed AHCA shows for

   decades.

         193.   IAFE Rules have been used at the National Western Stock Show for

   approximately 30 years. In order to show animals at a show where IAFE Rules are

   in place, the breeder is required to sign an agreement to abide by those rules on the

   AHCA entry form.


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         194.   This agreement to abide by IAFE Rules is required for all AHCA

   sanctioned shows and is evident on all AHCA sanctioned show applications.

         195.   The requirement that exhibitors at shows follow IAFE Rules is

   disseminated to AHCA membership by other avenues as well. For example, the

   Spring 2010 Bagpipe includes “AHCA Rules for ROE Sanctioned Shows” and states

   that “Exhibitors agree to abide by the IAFE (International Association of Fairs and

   Expositions) National Code of Show Ring Ethics.” In the Spring 2017 Bagpipe, the

   Show Committee Update included an article entitled “The IAFE Code of Show Ring

   Ethics Background and Explanation”, followed by a printing of the entire IAFE Code

   of Show Ring Ethics.

         196.   Notwithstanding all this, Defendant AHCA printed in the Summer 2019

   Bagpipe the false claim that “[t]he AHCA Board has recently adopted the

   International Association of Fairs and Expositions Code of Show Ring Ethics” in

   attempt to provide cover for the fraudulent claims of ethical violations made against

   Plaintiffs discussed above.

         197.   Rather than make it known that the accusations against Plaintiff were

   verifiably false, the AHCA conspired to deceive Plaintiffs and Association members

   by positing that some of the complaints could not be investigated because IAFE rules

   had not yet been adopted by the AHCA.




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          198.   AHCA then conspired to deceive Plaintiffs and its members into

   believing AHCA had “decided to adopt” IAFE Rules and Regulations solely in order

   to justify its actions.

          199.   Plaintiffs had not attended nor exhibited any of their cattle at an AHCA

   show since 2017.

          200.   Plaintiffs’ investigation has revealed that there were no irregularities or

   IAFE violations reported at the 2017 NWSS Highland Show – in any class, and

   certainly not in any class in which Plaintiff Steward was showing cattle.

          201.   Plaintiffs’ investigation has revealed that no one lodged any complaint

   whatsoever to the 2017 NWSS Show Superintendent about any alleged actions by

   Plaintiffs while showing cattle at the 2017 NWSS.

          202.   Plaintiffs’ investigation has revealed that the 2017 NWSS Sale

   Auctioneer received no reports of inappropriate occurrences by anyone, and certainly

   no reports of inappropriate conduct by Plaintiff Steward.

          203.   Plaintiffs have been informed that at the conclusion of the May 15, 2018

   Governance Committee meeting, it was the understanding of Governance Committee

   members that the unanimous decision was to inform the AHCA Board that there were

   no ethics complaints that would be recommended to be addressed at that time.

          204.   Notwithstanding all this, on May 23, 2018, Plaintiff Steward received

   notice from Defendant AHCA, through its employee Ginnah Moses, that she was

   being investigated for ethics complaints lodged against her.


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         205.    The Ethics Committee designated in the May 23, 2018 email from Moses

   consisted of Nick Self and Rick Martson.

         206.    Upon receiving the May 23, 2018 notification of the Ethics Committee

   investigation, Plaintiffs wrote to the Ethics Committee and Board of Directors to

   request copies of the complaints, the identity of the complainants and the show and

   sale at which Plaintiff Steward’s alleged conduct led to these purported complaints,

   since Plaintiffs had attended no shows in 2018.

         207.    Plaintiffs also notified the Ethics Committee and the Board of Directors

   that the accusations against them substantially impacted their businesses and

   livelihood.

         208.    Plaintiffs also reminded the Ethics Committee that they had been

   falsely and unfairly targeted by AHCA officers and members before for fraudulent

   ethics violations and had been completely exonerated.

         209.    Plaintiffs were informed by Board members that the Board was not

   aware of any complaints filed against Plaintiff Steward, that the Board had not

   authorized any Ethics investigation of Plaintiff Steward and that the Board had not

   convened an Ethics Committee to perform any investigation.

         210.    When no response was made to her previous request, on May 28, 2018,

   Janet again requested copies of the purported complaints against her so that she

   could formulate her best response to them.




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         211.   On May 29, 2018, Plaintiffs received a Kafkaesque email from AHCA

   President Laura McDowell-May stating that “[m]atters before the Ethics Committee

   are confidential”.

         212.   President McDowell-May’s email of May 29, 2018 also incorrectly

   informed Plaintiffs that “[m]atters before the Ethics Committee are … referred to the

   BOD … IF they decide whether to even move a matter forward.” This statement is

   in direct violation of AHCA’s Rules and Regulations as they existed at the time, which

   required Board approval before any Ethics investigation was conducted. Indeed, the

   protocol requiring BOD approval of an investigation before an Ethics Committee

   conducts an investigation was followed during in 2015 when Defendant Chotkowski

   and her allies’ false and fraudulent statements prompted an investigation.

         213.   Plaintiffs requested a hearing before the Board, as contemplated by the

   Rules and Regulations. On June 22, 2018, the Board, made aware for the first time

   of an investigation, but without the details of the complaints or investigation, voted

   to authorize the Ethics Committee to conduct the requested hearing.

         214.   One or more Governance Committee members who were present at the

   June 22, 2018 Board meeting were surprised by the announcement regarding an

   investigation as their understanding from an April Governance Committee meeting

   was that it had been decided that no ethics investigation was warranted.




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         215.   The June 22, 2018 report of the Governance Committee to the AHCA

   Board confirmed that all Ethics complaints are required to be in writing and signed,

   either by letter or email.

         216.   Prior to the hearing, Plaintiff Steward again requested on multiple

   occasions copies of the complaints and any and all relevant meeting and committee

   minutes where the issues were discussed.

         217.   Plaintiff Steward’s requests were routinely and repeatedly denied, in

   direct contravention of previous practice and stated policy.

         218.   Plaintiffs inquired of the AHCA Board about these purported complaints

   and the alleged Ethics Committee referral, requesting copies of the alleged

   complaints, the identity of the complainants and the show and/or sale to which the

   purported complaints referred. Plaintiffs also notified the AHCA that they had

   previously been targeted by false claims of complaints being lodged against them, and

   that those accusations had substantially impacted their businesses, well-being and

   livelihood despite Plaintiffs’ eventually being completely exonerated of those

   defamatory charges.

         219.   The Kafkaesque approach of the AHCA to Plaintiffs’ due-process rights

   was again on display when, on August 29, 2018, the Ethics Committee informed

   Plaintiffs that they would not be provided any documents in response to their

   request for minutes and copies of the alleged complaints against them.




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         220.   Plaintiffs subsequently discovered that AHCA President Laura

   McDowell-May     had    once   again    falsely   defamed    Plaintiffs,   intentionally

   misrepresenting to the Ethics Committee that she had received several letters, phone

   calls and texts complaining about Plaintiff Steward. These allegations appear to

   have been a complete fabrication.

         221.   Plaintiffs were informed by the Board that, contrary to what they had

   been told on May 23, 2018, no issues against them were pending with the

   Ethics Committee. In fact, the Board members represented that the Board was not

   aware of any ethics complaints filed against Plaintiffs, had not authorized any

   investigation of Plaintiffs and had not convened an Ethics Committee to do so.

         222.   Plaintiffs were also informed that despite no vote being taken by the

   AHCA Governance Committee or by the AHCA Board to authorize such

   actions, investigations into Plaintiffs alleged “ethics violations” were nonetheless

   being undertaken by individuals in an ultra-vires fashion.

         223.   After Plaintiffs concerted efforts, renewed emotional distress and

   further economic damages including but not limited to legal costs, expenses and

   attorneys’ fees, the Ethics Committee issued a statement that the above-described

   “ethics investigation” was dismissed.

         224.   However, rather than publicly state that the accusations against

   Plaintiffs were verified to be false, the AHCA falsely and misleadingly stated that

   “some of the complaints” could not be investigated because IAFE rules had not yet


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   been adopted by the AHCA at the time of the alleged wrongdoing by Plaintiffs. That

   statement is false and defamatory of Plaintiffs. IAFE rules have been a part of

   AHCA shows for decades. Moreover, the “ethics investigation” was dismissed because

   the allegation that complaints had been lodged against Plaintiffs was demonstrably

   false and fraudulent.

         225.   IAFE Rules were adopted at the NWSS approximately thirty (30) years

   ago. To show animals at an AHCA show, breeders are required to sign an agreement

   to abide by IAFE rules. This agreement is required for all AHCA sanctioned shows

   and is clearly provided on AHCA show applications and on AHCA entry forms. The

   Bagpipe, AHCA’s periodical, regularly published updates as well as the entire list of

   IAFE Rules (See e.g., Spring 2017, Spring 2010 issues).

         226.   The findings of the Ethics Committee, once again completely

   exonerating Plaintiffs, were finally adopted by the Board, ending the second round of

   spurious charges against Plaintiffs, on January 24, 2019.

         227.   Despite their eventual exoneration and the conclusion that these

   charges were frivolous, fraudulent and that it was inappropriate to even convene an

   investigation, reputational damage had already been done to Plaintiffs and continues

   to be done due to Defendants’ refusal to openly acknowledge the charges were

   spurious.

         228.   What’s more, despite the fact that the ethics charges against Plaintiffs

   were supposed to be confidential, AHCA officers, directors and/or committee members


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   nonetheless leaked information that Plaintiffs had been charged with ethical

   violations, thereby causing Plaintiffs severe reputational harm that resulted in a

   dramatic drop in their sales of cattle to AHCA members.

         229.   The complaints made by Defendants, similar to the 2015 complaints,

   were made in order to harass, embarrass and abuse Plaintiffs in order to prevent

   them from taking part in AHCA point shows or attending AHCA events, to drive them

   from the AHCA, to the potential financial benefit of Defendants Chotkowski,

   McDonnell-May and their respective cattle farms.

         230.   Defendants’ targeting and harassment of Plaintiffs for alleged ethics

   violations was frivolous, capricious and designed to incur sanctions against and

   removal of Plaintiffs from the Association.

         231.   Defendants’ anticompetitive conduct, targeting and harassment of

   Plaintiffs was designed to, and did, cause pain and suffering and humiliation to

   Plaintiffs and were successful in achieving Defendants’ intent to cause other AHCA

   members to sever personal and professional relationships with Plaintiffs.

         232.   Defendants’ conduct was further designed to, and did, cause other

   AHCA members to question if Plaintiffs were ethical breeders, and to decrease sales

   of Shat Acres breeding stock, reflected by a 30% drop in Plaintiffs’ breeding sales in

   2018, with not one animal sold to a member of the Association.




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         233.   Due to Defendants’ conduct, no AHCA member purchased any Shat

   Acres cattle in 2018 and 2019, dramatically decreasing Plaintiffs’ economic return on

   its breeding stock.

         234.   Defendants’ anticompetitive behavior, targeting and harassment of

   Plaintiffs for demonstrably false ethics violations was designed to, and did, create an

   environment in which Plaintiffs could not bring their champion Highland cattle to

   AHCA point shows.

         235.   Plaintiffs suffered serious and severe emotional distress as well as

   economic damages due to the targeting, defamation, humiliation, harassment, and

   lack of due process they endured by and through the AHCA, its officers, directors,

   members, committee members and in particular Jacquelyn Chotkowski and Laura

   McDowell-May.

         236.   Defendants, and each of their defamation, humiliation, harassment,

   intentional infliction of emotional distress, lack of due process and anti-competitive

   actions, caused Plaintiffs damages including emotional distress, reputational harm,

   loss of business and personal relationships, other non-economic and economic

   damages resulting from Defendants’ creation of an environment in which Plaintiffs

   could not bring their champion Highland cattle to AHCA shows due to fear of what

   they might next be falsely accused of, and resulting from ostracism, including but not

   limited to loss of sales and marketing opportunities derived from attending AHCA




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   shows, and further economic damages including but not limited to attorneys’ fees and

   legal costs, in amounts to be determined at trial.

          237.   Defendants Jacquelyn Chotkowski, Laura McDowell-May, the AHCA

   and its officers, directors, and agents, continue to harass Plaintiffs and continue to

   make concerted efforts to destroy and cause the failure of Plaintiffs’ business and the

   BMC.

          238.   Defendants’ malfeasance is intended for the sake of their own financial

   gain and their competing Highland cattle farms.

          239.   The harassment and unlawful attempts to undermine Plaintiffs’

   business continues to the present.

          240.   Upon information and belief, AHCA members have been falsely told that

   Plaintiffs are not ethical breeders, as they were being investigated for multiple ethics

   violations and members were advised not to purchase Shat Acres animals for that

   reason.

          241.   Upon information and belief, rather than exoneration, some AHCA

   members were led to believe that Plaintiff Steward was receiving a “warning letter”

   in regards to the complaints alleged against her.

          242.   Plaintiffs were asked in 2019 to make a presentation to Junior members

   of the Mid-Atlantic Highland Cattle Regional Association (MAHA) about showing

   cattle, due to Shat Acres’ prestige of being the oldest registered herd of Highland

   cattle in the United States. However, when Janet contacted the organizer to confirm


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   details, she was informed that their services were no longer needed, and that someone

   else would be making the presentation.

         243.   Plaintiff Steward subsequently learned that the organizer had been

   informed by the wife of an AHCA Officer and Governance Committee member that

   Plaintiff Steward was being investigated for multiple ethics violations relating to

   shows and should not be allowed to make such presentations to Junior members. The

   wife of the Officer who informed the organizer that Plaintiff Steward was under ethics

   investigations became the workshop presenter for the Juniors in her place.

         244.   This is particularly troubling and humiliating to Plaintiff Steward, who

   prior to working full time on the farm, was an educator for thirty years, being named

   the 2002 Vermont Teacher of the Year and a 2004 American Star of Teaching.

         245.   Janet continues to be active with the development of Vermont education

   standards and teaching graduate level education classes.

         246.   Upon information and belief, at a 2019 AHCA show, show officials

   shared false, and confidential, assertions that Plaintiffs were under investigation for

   misconduct at AHCA shows.

         247.   Upon information and belief, AHCA officials have informed other AHCA

   members of their desire for Plaintiff and Shat Acres to stop showing their Highland

   cattle at AHCA point shows due to the quality of their cattle, their consistent

   winnings, and their success with certain AHCA programs such as beef marketing.




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         248.   An AHCA member approached Plaintiff Shatney in a local Vermont

   farm supply store, berating Plaintiff Shatney and yelling loudly that she had been

   told by AHCA officials that Plaintiffs were troublemakers and liars and were causing

   problems for AHCA.

         249.   AHCA officials and members have stated that former AHCA Presidents

   Chotkowski and McDowell-May have been primary instigators in the targeting and

   harassing of Plaintiffs.

         250.   As noted supra, Defendant Chotkowski was the Associate Editor for 14

   years and has been the Editor and Publisher of the Bagpipe for many years.

         251.   Any submissions for the Bagpipe are to be sent to the Editor.

         252.   Shat Acres Cinnamon Raisin was the most winning Highland cow in the

   United States with over a dozen Grand Championships and several Supreme

   Champions of Shows.

         253.   Shat Acres Cinnamon Raisin had ten offspring, each offspring a Grand

   Champion, save her last calf that was never shown due to the targeting and

   harassment of Plaintiffs by Defendants.

         254.   In 2018 Shat Acres Cinnamon Raisin, at the comparatively young age of

   thirteen, developed arthritis in her hip.

         255.   In the summer of 2018 Plaintiff Steward wrote and submitted an essay

   about the impending loss of Shat Acres Cinnamon Raisin, both for Plaintiffs and the

   Highland world.


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         256.   Plaintiff received an email from Chotkowski stating the Bagpipe did not

   publish stories about individual animals.

         257.   Notwithstanding such a statement, the following issue of the Bagpipe

   contained a two-page spread about an individual Highland bull.

         258.   This bull had won less Grand Championships than Shat Acres

   Cinnamon Raisin, and no Supreme Championships of Show.

         259.   In 2018, the published bull had no registered offspring.

         260.   The bull’s owner had previously purchased Highland cattle owned by

   Defendant Chotkowski.

                AHCA’S INVESTIGATIONS OF OTHER MEMBERS

         261.   In contrast to Defendants’ actions toward Plaintiffs, complaints leveled

   against persons who were not viewed as a threat to Defendants Chotkowski and

   McDonnell-May were treated vastly different.

         262.   Upon information and belief, at the 2019 NWSS, an AHCA officer was

   witnessed extremely intoxicated by Board and other members on the night of the

   banquet and had difficulty delivering his prepared remarks due to slurred speech.

         263.   Upon information and belief, said officer was also witnessed by Board

   and other members supplying alcohol to minors in the bar area of the hotel and

   behaving inappropriately into the early hours of the morning with junior members of

   the AHCA in his hotel room.




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            264.      Upon information and belief, Defendant Chotkowski was aware

      and witnessed the inappropriate behavior.

            265.      Upon information and belief, many AHCA members as well as

      Board members made complaints to the Ethics Committee regarding said AHCA

      officer and his inappropriate conduct.

            266.      Members largely received no response to their complaints of said

      officer’s conduct. Instead, a sham and fraudulent investigation was documented

      while Board and other members who had made the complaints were harassed, told

      it was none of their business and that they needed to apologize to said officer

      because if what occurred “got out” it could cause problems for him and his family.

            267.      In a striking contrast, while Plaintiffs had been prohibited from

      ever receiving or reviewing a copy of the complaints allegedly made against them,

      said AHCA officer was immediately provided a copy of a signed complaint made

      against him.

            268.      Said officer then provided a response to the complaint after being

      allowed to review the complaint itself, including the identity of the complainant.

            269.      Upon information and belief, additional complaints were made

      against him, including one by a member of the Board of Directors relating to his

      behavior in the hotel at the 2019 NWSS, and this complaint was forwarded to the

      accused along with photographic and/or video evidence.

            270.      Said officer was permitted to respond to the complaints in turn.


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            271.      Those who complained against the officer were told that they

      needed to apologize to him, and threats that the accusers “needed to be dealt with”

      were made.

            272.      The Ethics Committee conducted a cursory, sham investigation

      lasting merely a few weeks and submitted the officer’s responses to the Board of

      Directors without any reply gathered from the complainants or interviews

      performed of corroborating witnesses.

            273.      In shocking contrast to the treatment of Plaintiffs, despite the

      serious allegations made against said officer, the Ethics Committee issued a

      recommendation that the allegations were unsubstantiated less than two months

      after the complaints were first made.

            274.      Even complaints made against non-members of AHCA are

      treated with significantly less rigor by Defendants when the individual alleged to

      have committed the violations is protected by influential members of the

      Association.

            275.      At the 2019 NWSS, the above-mentioned groomer who has been

      employed to prepare cattle owned by Chotkowski and McDowell-May, was

      observed and recorded repeatedly striking a junior exhibitor’s animal in the same

      class in which she was showing an animal.

            276.      Multiple ethics complaints were lodged by spectators present at

      the NWSS as well as those witnessing the live broadcast against the groomer who


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      Defendants Chotkowski and McDowell-May hired, complaining of her abuse of a

      fellow breeder’s animal.

            277.       Some complainants received no response to their complaints.

            278.       Instead, the AHCA Show Committee justified the violation of the

      IAFE Rules by citing an unrelated document created by an unaffiliated entity

      regarding show etiquette.

            279.       Even so, the actions of the Defendants’ hired groomer violated the

      show etiquette standards cited in the unrelated document as well.

            280.       Defendants went so far as to inform some complainants that they

      must apologize to Defendants’ groomer for complaining about her conduct and

      damaging her reputation.

            281.       Upon information and belief, threats of legal action against the

      AHCA were made if the groomer’s conduct resulted in any ethics investigations.

            282.       Upon information and belief, Defendants as individuals and using

      their authority within the AHCA intimidated and retaliated against the family of

      the junior exhibitor whose animal was struck by Defendants’ hired groomer.

                IMPACT ON PLAINTIFFS OF DEFENDANTS’ ACTIONS

         283.    Defendants’ targeting and harassment of Plaintiffs for alleged ethics

   violations was frivolous, capricious and designed to incur sanctions against or

   removal of Plaintiffs from the AHCA.




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         284.   Defendants’ actions were intended to, and did, cause pain and suffering

   and humiliation for Plaintiffs as well as encourage other AHCA members to sever

   personal and professional relationships with Plaintiffs.

         285.   Defendants’ actions were intended with the express purpose of causing

   other AHCA members to question the professionalism of Plaintiffs, to prevent

   Plaintiffs from attending and winning AHCA point shows, and to decrease sales of

   Shat Acres breeding products and stock. These results were achieved.

         286.   Due to the actions of the Defendants, Plaintiffs have been significantly

   and substantially damaged.

         287.   The conspiracy perpetuated by certain members of AHCA, endorsed and

   perpetuated by AHCA itself through the false ethical investigations, had the intent

   of damaging Plaintiffs’ business in an attempt to force them into compliance with

   those members’ interests or to force them to cease to be members of AHCA.

         288.   Due to the repeated false claims of ethical violations, Plaintiffs’ standing

   and reputation, which had been built for decades, has been significantly tarnished.

   Plaintiffs have lost cattle sales due to other breeders’ believing, based on Defendants’

   false claims, that Plaintiffs are unethical breeders.

         289.   Plaintiffs have not attended livestock shows due to the harassment and

   humiliation, and for fear of that other false accusations might be made.




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          290.   The inability of Plaintiffs to attend these shows has resulted in the

   inability to accumulate awards for their breeding stock and has also directly resulted

   in lost sales, which are often made at such shows.

          291.   In addition, Plaintiffs have suffered severe emotional damages as a

   result of the continued campaign of harassment.

                               STATEMENT OF CLAIMS

                        CLAIM ONE: BREACH OF CONTRACT
                              Against all Defendants

   292.   Plaintiffs incorporate herein each of the above allegations.

   293.   Plaintiffs entered into a contract with AHCA for the purchase of a membership

      in AHCA, which was to provide them with representation of their interests and

      the promotion of their business, and the interests of the Highland cattle breed at

      large.

   294.   Plaintiffs paid for their membership in AHCA but AHCA, through certain

      members and officers, sought instead to promote the interest of some members

      over Plaintiffs and devalue Plaintiffs’ business.

   295.   Plaintiffs were directly and proximately damaged by Defendants’ actions.

   296.   Defendants and each of them, as members of the AHCA, agreed that members

      of the AHCA, including Plaintiffs, would be treated fairly, equally, and in

      accordance with the AHCA Bylaws, Rules and Regulations, governing documents

      and operating procedures.

   297.   Defendants breached their agreements with Plaintiffs.

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   298.   Upon information and belief, Defendants’ breaches of these contracts were

      willful and wanton.

   299.   Plaintiffs performed all their obligations under the contracts with Defendants.

   300.   Plaintiffs were directly and proximately damaged by Defendants’ actions.


                        CLAIM TWO: BREACH OF COVENANT
                        OF GOOD FAITH AND FAIR DEALING
                              Against all Defendants

   301.   Plaintiffs incorporate herein each of the above allegations.

   302.   Plaintiffs’ paid membership in AHCA and their reliance on the published Rules

      and Regulations, Bylaws, governing documents, norms of due process and AHCA’s

      stated mission and purpose, created an implied covenant that AHCA would

      operate toward Plaintiffs in good faith.

   303.   Defendants and each of them, as members of the AHCA, acted in violation of

      their agreements under the AHCA governing documents by taking actions that

      were unfair, unreasonable, violated norms of due process, good faith and fair

      dealing.

   304.   Defendants’ actions, and the actions of its members, officers, directors, agents

      and employees reduced the value of Plaintiffs’ membership and substantially

      reduced the value of Plaintiffs’ livestock and business.

   305.   Defendants’ actions, and the actions of its members, officers, agents, employees

      and directors, directly violated the purpose of Plaintiffs’ membership and violated

      the implied covenant of good faith and fair dealing.

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   306.    Plaintiffs were substantially damaged by as a direct result of Defendants’

        breaches of the covenant of good faith and fair dealing.


                        CLAIM THREE: PROMISSORY ESTOPPEL
                                Against all Defendants

   307.    Plaintiffs incorporate herein each of the above allegations.

   308.    Defendants and each of them, as members, directors and officers of the AHCA,

        made promises to Plaintiffs regarding Plaintiffs’ investments in the AHCA.

   309.    Defendants promised that Plaintiffs would be treated fairly, similar to other

        AHCA members, and afforded due process in their dealings within the

        organization.

   310.    Defendants should reasonably have expected that these promises would induce

        action or forbearance by Plaintiffs.

   311.    Defendants made the following promises to Plaintiffs:

   a.      Defendants promised adherence to AHCA rules and regulations when

   conducting the above-described ethics investigations of Plaintiffs.

   b.      AHCA bylaws, rules and regulations, governing documents and norms of due

   process and confidentiality provide procedures for conducting such investigations.

   312.    Defendants failed to proceed according to said promises.

   313.    The promises must be enforced to prevent injustice.




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                 CLAIM FOUR: INTENTIONAL INFLICTION OF
                            EMOTIONAL DISTRESS
               Against Jacquelyn Chotkowski, Laura McDowell-May

   314.   Plaintiffs incorporate herein each of the above allegations.

   315.   Defendants engaged in extreme and outrageous conduct.

   316.   Defendants engaged in such conduct recklessly or with the intent of causing

      the Plaintiffs severe emotional distress.

   317.   Defendants’ conduct caused the Plaintiffs to suffer severe emotional distress.


                     CLAIM FIVE: TORTIOUS INTERFERENCE
                             Against all Defendants

   318.   Defendants and each of them knew or should have known that their actions

      would cause others with whom Plaintiffs had contracts or business dealings to

      abandon those contracts or business dealings.

   319.   Defendants by words or conduct intentionally caused others to abandon those

      contracts or business dealings.

   320.   Interference with said contracts or business dealings by Defendants was

      improper.

   321.   Defendants’ interference with these contracts was also willful and wanton,

      done heedlessly and recklessly, without regard to the consequences and without

      regard to the rights of the Plaintiffs.

   322.   In particular, Defendants’ actions falsely accusing Plaintiffs of ethical

      misconduct,    and/or    leaking    confidential   information     regarding   AHCA


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      investigations of Plaintiffs’ alleged ethical misconduct, was intended (or recklessly

      done) to result in Plaintiffs’ losing business dealings and contracts.

   323.   Defendants’ actions have caused and will cause Plaintiffs damage including

      but not limited to loss of income.

   324.   Defendants’ actions were intended not only to cause Plaintiffs to lose contracts,

      but to result in an increase of business.


                        CLAIM SIX: DEFAMATION PER SE
                     Against AHCA, Chotkowski, McDowell-May

   325.   Plaintiffs incorporate herein each of the above allegations.

   326.   Defendants made false and defamatory statements about Plaintiffs to third

      parties in both spoken and written forms that were communicated and published

      to others.

   327.   Defendant Jacquelyn Chotkowski repeatedly, and falsely, told AHCA

      members, agents, employees, directors and officers that Plaintiff was lying during

      her beef marketing reports. Members of the AHCA present during these attacks

      were aware of these false accusations.

   328.   Defendants falsely accused Plaintiff Shatney of being a troublemaker and

      maligned his reputation in the AHCA.

   329.   Defendants falsely accused Plaintiff Steward of being a liar and maligned her

      reputation in the AHCA.




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   330.   Defendants made public and groundless threats of legal action including

      criminal charges against Plaintiffs in the manner in which they conducted their

      profession, further maligning their reputations.

   331.   Defendants made false and defamatory allegations to ACHA ethics committee

      members claiming that they received complaints of unethical behavior by

      Plaintiffs, and thereby sparking “ethics investigations” of Plaintiffs that caused

      reputational damages to Plaintiffs.

   332.   Defendants then leaked word of these spurious “ethics investigations” to

      further damage Plaintiffs’ reputation.

   333.   Plaintiffs’ reputations among AHCA members and others in the cattle

      community was in fact damaged.

   334.   Defendants’ false and derogatory statements about Plaintiffs resulted in

      monetary losses, pain and suffering, emotional distress and impairment of

      Plaintiffs’ reputations.

   335.   Plaintiffs were directly and proximately damaged by Defendants’ actions.


                             CLAIM SEVEN: TRADE LIBEL
                                Against all Defendants

   336.   Plaintiffs incorporate herein each of the above allegations.

   337.   Defendants made false and defamatory statements about Plaintiffs to third

      parties in both spoken and written forms that were communicated and published

      to others.


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   338.   Defendant Jacquelyn Chotkowski repeatedly, and falsely, told AHCA

      members, agents, employees, directors and officers that Plaintiff Steward was

      lying during her beef marketing reports. Members of the AHCA present during

      these attacks were aware of these false accusations.

   339.   Defendants falsely accused Plaintiff Shatney of being a troublemaker and

      maligned his reputation in the AHCA.

   340.   Defendants falsely accused Plaintiff Steward of being a liar and maligned her

      reputation in the AHCA.

   341.   Defendants made unsubstantiated threats of legal action including criminal

      charges against Plaintiffs, further maligning their reputations.

   342.   Defendants made false and defamatory allegations to ACHA ethics committee

      members claiming that they received complaints of unethical behavior by

      Plaintiffs, and thereby sparking “ethics investigations” of Plaintiffs that caused

      reputational damages to Plaintiffs.

   343.   Defendants then leaked word of these spurious “ethics investigations” to

      further damage Plaintiffs’ reputation.

   344.   Plaintiffs’ reputations among AHCA members and others in the cattle

      community was in fact damaged.

   345.   Defendants’ false and derogatory statements about Plaintiffs resulted in

      monetary losses, pain and suffering, emotional distress and impairment of

      Plaintiffs’ reputations.


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   346.    Plaintiffs were directly and proximately damaged by Defendants’ actions.


          CLAIM EIGHT: VIOLATIONS OF THE SHERMAN ANTITRUST ACT
                            Against all Defendants

   347.    Plaintiffs incorporate herein each of the above allegations.

   348.    Defendants’ above-described actions constitute concerted actions and/or

   conspiracy among two or more separate entities.

   349.    The above-described actions of Defendants constitute unreasonable restraints

   on trade which affect interstate commerce.

   350.    Defendants have the power to raise its prices on goods by limiting the amount

   of goods produced.

   351.    Plaintiffs’ have been significantly damaged by Defendants’ anti-competitive

   actions.

   352.    Defendants’ actions violate 15 U.S.C. § 1 and Plaintiffs’ claims arise under 15

   U.S.C. § 15 and 22.

                  CLAIM NINE: VIOLATION OF THE VERMONT CONSUMER
                                  PROTECTION ACT
                                 Against all Defendants

   353.    Plaintiffs incorporate herein each of the above allegations.

   354.    Defendants’ actions, and those of its officers and members, constitute unfair or

      deceptive trade practices in commerce.

   355.    Plaintiffs purchased a membership in reliance upon the stated purpose and

      mission of AHCA.


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   356.   Plaintiffs were damaged as a direct and proximate result of Defendants’

      actions.

   357.   Defendants’ actions violate 9 V.S.A. § 2453 and Plaintiffs’ claims arise under 9

      V.S.A. § 2461 and 2465.


   WHEREFORE, Plaintiffs pray this Court enter Judgment for Plaintiffs and

   against Defendants and each of them:

                 a) For compensatory damages of economic and non-economic damages

                    suffered by Plaintiffs as a result of Defendants’ actions;

                 b) For pre-judgment and post-judgment interest;

                 c) For statutory penalties pursuant to statute;

                 d) For legal costs pursuant C.R.C.P. 54(d);

                 e) For attorney’s fees pursuant to statute and law;

                 f) For injunctive relief to put an end to ongoing harassment, targeting,

                    defamation, undue process, anti-competitive behavior by Defendants

                    and to mandate Defendants issue a public apology to Plaintiffs;

                 g) For an order to disgorge any and all profits resulting from

                    Defendants’ unjust actions to increase their own business at the

                    expense of Plaintiffs;

                 h) and for such other relief as is just and equitable.


                                      JURY DEMAND

   Plaintiffs hereby demand a trial by jury on all issues so triable.

   DATED THIS 17th DAY OF MAY, 2021.




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                                            s/ Dan Ernst_______________________
                                            Jereme L. Baker, Atty Reg. No. 41515
                                            Dan Ernst, Atty Reg. No. 53438
                                            Baker Law Group, LLC
                                            8301 E. Prentice Ave, Suite 405
                                            Denver, CO 80111
                                            Telephone: (303) 862-4564
                                            E-mail: jereme@bakerlawgroup.com;
                                             dan@bakerlawgroup.com
                                            Attorneys for Plaintiffs

                                            s/ Robin Freeman___________________
                                            Robin A. Freeman, Jr., Esq. (pro hac vice)
                                            Earle & Freeman, PLC
                                            P.O. Box 1385
                                            107 State Street
                                            Montpelier, VT 05601-1385
                                            Telephone: (802) 225-6495
                                            Email: raf@earlefreemanlaw.com
                                            Attorney for Plaintiffs




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